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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK


    UNITED STATES OF AMERICA

    v.                                    Case No.: 1:21-cr-00371-BMC-TAM

    AL MALIK ALSHAHHI, et al.             ORAL ARGUMENT REQUESTED

    Defendants.



         MEMORANDUM IN SUPPORT OF NON-PARTY ALISON MARCKSTADT’S
                  MOTION TO QUASH RULE 17(C) SUBPOENA
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          Non-party Alison Marckstadt (“Ms. Marckstadt”) respectfully moves pursuant to Federal

   Rule of Criminal Procedure 17 (“Rule 17”), to quash an August 29, 2022 trial subpoena served

   on her by the government on August 30, 2022 (the “August 2022 Subpoena”). (Exhibit (“Ex.”)

   A.) Rather than seek specific, relevant, and admissible documents, the August 2022 Subpoena

   instead demands production of twelve broad categories of unspecified documents that may or

   may not exist, making no effort to comply with the requirements of the standard set forth in

   United States v. Nixon, 418 U.S. 683 (1974). The August 2022 Subpoena also expressly seeks

   documents created after the time period addressed by the superseding indictment, including

   during the time period that Ms. Marckstadt was a consultant for the defense team. Not only do

   these requests encompass privileged and work product information, but they also ignore the

   Court’s clear admonition (in ruling on Mr. Barrack’s subpoena to Digital Bridge) that it would

   not order production of documents from after the time period alleged in the indictment.

   Accordingly, the Court should quash the August 2022 Subpoena.

                                  PRELIMINARY STATEMENT

          Ms. Marckstadt has worked with defendant Thomas J. Barrack, Jr. as an executive

   assistant, project manager, and family office consultant since 2013. Ms. Marckstadt was also

   retained as a consultant to Mr. Barrack’s legal team from August 2021 until April 2022, where

   she aided Mr. Barrack and defense counsel with projects relevant to Mr. Barrack’s defense.

   Despite the fact that the government already interviewed Ms. Marckstadt and obtained a

   substantial number of documents from her and her former employer, on the eve of trial, the

   government chose to serve her with an extraordinarily broad and burdensome subpoena, which

   seeks numerous privileged documents she sent and received during her time as a consultant to

   Mr. Barrack’s defense team. The government’s subpoena is inappropriate, both under Rule 17(c)



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   and Nixon, and to the extent that it was sent to obtain information about defense strategy in this

   case or to coerce a further interview of Ms. Marckstadt, it is deeply problematic.

             As the government observed in its own recently filed motion regarding a trial subpoena

   issued to Digital Bridge, the Court must quash subpoenas that fail to meet the relevance,

   admissibility, and specificity requirements of Rule 17. (ECF 153 at 6, 8.) These same flaws

   pervade the government’s subpoena to Ms. Marckstadt and necessitate this motion to quash.

   Further, materials created after the indictment, including agreements Ms. Marckstadt may have

   had with Mr. Barrack or defense counsel, or materials referencing subjects that are at issue in this

   case, have no relevance to the charges against Mr. Barrack, are sought for potential

   impeachment, and are not a proper use of a Rule 17 subpoena. Additionally, the government’s

   suggestion that any privilege concerns can be addressed merely by providing a privilege log of

   all protected documents and communications ignores the massive scope of its requests and what

   such a log would reveal. Ms. Marckstadt was a privileged consultant for the defense team for

   nine months, so this effort would necessitate logging potentially hundreds or thousands of

   documents, and the privilege log itself would likely reveal steps taken by the defense team and

   its trial strategy to the government (in the same way that a Rule 17 subpoena to a consultant

   working for the prosecution team would reveal steps taken by the government to prepare for

   trial).

             Where the government has not identified any specific, admissible documents held by Ms.

   Marckstadt, where the subpoena requests call for documents from the time period that Ms.

   Marckstadt was a privileged consultant, where the government requests documents dated after

   the time period alleged in the superseding indictment, and where the government has made

   repeated efforts (including the threat of subpoenas, or issuing subpoenas and offering to



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   withdraw them) to coerce her to meet with prosecutors to prepare for trial testimony, the

   government’s trial subpoena for documents from Ms. Marckstadt must be quashed.

                                     FACTUAL BACKGROUND

          The government has already obtained extensive discovery from Ms. Marckstadt. On

   February 27, 2019, the government issued a grand jury subpoena to Ms. Marckstadt for

   testimony and the production of documents. (Ex. B.) After discussions with counsel for Ms.

   Marckstadt and her then-employer, Colony Capital (“Colony”), the government held the

   subpoena in abeyance and instead pursued a voluntary document request dated March 19, 2019

   through Colony. (See Ex. C.) On May 2, 2019, Ms. Marckstadt produced, through prior

   counsel, “documents responsive to [the government’s] February 27, 2019 request.” (Ex. D.)

   These documents included emails from Ms. Marckstadt’s personal email. Then, on June 12,

   2019, Colony produced text messages from Ms. Marckstadt and emails from her Colony email

   account “in response to [the government’s] March 19, 2019 request for documents.” (Ex. E.)

   Ultimately, the government received several hundred texts and emails from Ms. Marckstadt’s

   Colony email, personal Gmail account, and personal devices.

          When Mr. Barrack was indicted and arrested in July 2021, his counsel retained Ms.

   Marckstadt as a consultant for the legal defense team, six months before any outreach from the

   government requesting an interview, and she worked closely with counsel on a number of

   projects that are protected by privilege.

          In January 2022, the government asked Ms. Marckstadt to agree to a voluntary interview.

   Through counsel, Ms. Marckstadt declined this request. The government then raised the

   prospect of serving a grand jury subpoena on her if she would not meet with them. In light of

   this, Ms. Marckstadt agreed to meet with the government for an interview. The government



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   nevertheless issued a grand jury subpoena to Ms. Marckstadt for her testimony, but after further

   conferring, the government agreed to interview Ms. Marckstadt and adjourned the subpoena.

            On April 7, 2022, the government interviewed Ms. Marckstadt in-person in New York for

   approximately four hours. During her interview, Ms. Marckstadt answered every question the

   government posed to her (other than those that called for privileged information), including

   many questions related to nonprivileged information about her role as a consultant to the defense

   team. On May 16, 2022, the government requested a follow-up interview with Ms. Marckstadt.

   Through counsel, Ms. Marckstadt asked the government to provide the questions in writing, and

   she offered to respond to those questions in writing. The government did not respond to this

   offer.

            In May 2022, the government filed a Curcio letter with the Court, arguing that Ms.

   Marckstadt’s role as a paid consultant for Mr. Barrack’s defense team created a potential conflict

   of interest. In accepting Mr. Barrack’s waiver of the purported conflict raised by the

   government, the Court noted that the potential conflict was “pretty esoteric” and “a far unlikely

   conflict.” (See Ex. F at 15.)

            On June 14, 2022, the government issued a trial subpoena for testimony to Ms.

   Marckstadt. This subpoena did not include any document requests. On August 2, 2022, the

   government served on Ms. Marckstadt a new trial subpoena, which reflected the new trial date,

   included fourteen new document requests (with numerous additional sub-requests), and

   demanded all responsive documents to be produced on the first day of trial. (Ex. I.) The

   government also asked that Ms. Marckstadt again meet with the government to prepare for

   potential trial testimony. (See Ex. G.)




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          Beginning on August 18, 2022, and in accordance with Local Criminal Rule 16.1, Ms.

   Marckstadt’s counsel has conferred by phone and by written correspondence with the

   government regarding the trial subpoena. (Declaration of Grant B. Gelberg (“Gelberg Decl.”) ¶

   2.) During a telephonic conference on August 18, 2022, counsel for Ms. Marckstadt and the

   government discussed each of the items sought in the pending subpoena. (Id.) During that

   discussion, the government said that if Ms. Marckstadt provided information about the

   documents in her possession, it would consider narrowing the requests. But that is not how the

   Rule 17 subpoena process works; it is not incumbent on Ms. Marckstadt to provide the

   government with information so that it can craft a better subpoena.

          On August 23, 2022, counsel for Ms. Marckstadt sent an email to the government

   outlining the problems with the document requests in the pending subpoena. (Ex. H at 6.)

   Counsel again invited the government to identify specific documents from Ms. Marckstadt that it

   believed would be admissible at trial. The government responded the next day, referencing

   unspecified “possible approaches” it had suggested during the meet and confer to narrow the

   subpoena. (Id. at 4.) The government also documented its intention to force Ms. Marckstadt

   (and other witnesses who did not immediately agree to meet with the government for trial

   preparation) to show up for trial and wait indefinitely until the government elected to call them—

   which could be as long as a month—regardless of the human toll that such a callous approach

   would have on Ms. Marckstadt:




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          We again ask that you advise us what each client’s respective position is with regard
          to our request that they make time to meet with us to prepare for trial. Assuming
          there is no change … we will expect your clients to show up for trial as required by
          law and we will have to have [them] wait until each witness is called before making
          determinations as to whether we need to call any of the remaining witnesses. …
          [W]e understand that each of your clients would prefer not to be in this situation.
          But of course we are just doing our jobs, and you have not given us much to work
          with them in terms of narrowing the scope of their responsibilities.

   (Id.) 1 This unprofessional bullying by the prosecutors has no place, particularly where those

   witnesses have been cooperative and responsive to the government’s requests, including by

   traveling to New York for pre-trial interviews with the government. 2

          On August 29, 2022, counsel for Ms. Marckstadt responded by email, again pointing out

   the subpoena’s many flaws under Rule 17(c) and Nixon and requesting yet again that the

   government narrow the scope to comply with applicable law. (Id. at 3.) Recognizing that its

   initial subpoena was deeply flawed, the government issued a revised subpoena on August 29,

   2022 (the “August 2022 Subpoena”). (Id. at 1-2; Ex. A.) However, this new subpoena does not

   even come close to resolving the problems identified by Ms. Marckstadt.

          Certain requests in this subpoena are identical to or seek the same documents as requests

   that the government propounded to Ms. Marckstadt three years ago, duplicating the broad



   1
     The other “clients” referred to by the prosecutors are Ashley Hall and Jessica Gibbs, both of
   whom also served as assistants to Mr. Barrack, and both of whom also live on the other side of
   the country. Ms. Hall has three small children and is assisting in the care of her own mother,
   circumstances of which the government was aware when it sent its email.
   2
     The government has since clarified that Ms. Marckstadt, Ms. Hall, and Ms. Gibbs do not have
   to literally wait on a bench at the courthouse for four weeks, but must fly across the country and
   wait in “any number of locations in Brooklyn, Manhattan, and other parts of the tri-state area”
   for the four weeks. (Ex. H at 1.) This after-the-fact attempt to walk back the prior threat
   acknowledges the impropriety of the earlier assertion, and regardless is a matter of semantics to
   the three witnesses who have to leave their homes, family, and work for a month because the
   government refuses to coordinate schedules with them. Again, it is inappropriate to use this
   threat as leverage to get a witness to “voluntarily” interview with the government.


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   requests it has already made and materials it has already received. The government attempts to

   justify this by including an instruction stating that Ms. Marckstadt does not have to produce any

   materials that were previously produced by her in response to the February 27, 2019 grand jury

   subpoena (see Ex. A at Instruction 5), but this turns the obligations under Rule 17(c) on their

   head. It is the government’s responsibility—not Ms. Marckstadt’s—to identify what specific

   documents it wants that were not previously produced. See United States v. RW Prof’l Leasing

   Servs. Corp., 228 F.R.D. 158, 163 (E.D.N.Y. 2005) (finding that it was “unreasonable” to ask a

   subpoena recipient to “find what documents were previously produced where [the subpoena

   issuer] could discover this through their own efforts.”).

          Moreover, the time period for the requests is overbroad, extending from January 1, 2016

   to the present. (See Ex. A at Instruction 4.) Several requests specifically ask for documents from

   the post-indictment period (see id. at Requests 9-12), while other requests only ask for

   documents dated after the events alleged in the superseding indictment (see id. at Request 7). In

   other words, nearly all of the requests demand documents dated after the indictment. But the

   Court has made clear (in ruling on Mr. Barrack’s request for a subpoena to Digital Bridge) that it

   will not allow requests seeking documents from after the time period alleged in the indictment.

          The government, however, ignored the Court’s ruling and confirmed in a lengthy email

   that it was seeking documents that were created after 2018 and, indeed, during the time period

   after the indictments were returned in this case. For example, the government confirmed that it

   is seeking materials from “after the indictment period (April 2018) and after [Ms. Marckstadt]

   stopped working for Mr. Barrack (2019).” (Ex. H at 2.) The government also admitted that it

   did not know whether the requested documents actually exist, noting that, based on Ms.

   Marckstadt’s prior production of communications from her personal email account, that she



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 “may be in possession of admissible and relevant records in this case.” (Id. (emphasis added).)

 The government also asserted that it is entitled to use Rule 17(c) to obtain, without limitation,

 “records related to any communications with Mr. Barrack about this case,” including classic

 impeachment material to be sued “for purposes of assessing [Ms. Marckstadt’s] credibility” and

 any “bias.” (Id.)

                                       LEGAL STANDARD

        Rule 17(c) permits parties to issue subpoenas seeking the production of documents. “The

 purpose of rule 17(c) is not to facilitate discovery, but to enable a party to obtain and inspect

 evidentiary material prior to trial.” RW Prof’l Leasing Servs., 228 F.R.D. at 161 (E.D.N.Y.

 2005); see also Nixon, 418 U.S. at 698 (noting that a Rule 17(c) subpoena “was not intended to

 provide a means of discovery for criminal cases”). “Rule 17(c) should not be broadly interpreted

 as a discovery tool in criminal cases and . . . courts must be careful that Rule 17(c) is not turned

 into a broad discovery device.” RW Prof’l Leasing Servs., 228 F.R.D. at 162 (internal quotations

 omitted).

        As such, a “court may quash or modify the subpoena if compliance would be

 unreasonable or oppressive.” Fed. R. Crim. P. 17(c)(2). The validity of a Rule 17(c) subpoena is

 governed by the strict standard set forth in Nixon. Under Nixon, the proponent of the subpoena

 has the burden of establishing: “(1) that the documents are evidentiary and relevant; (2) that they

 are not otherwise procurable reasonably in advance of trial by exercise of due diligence; (3) that

 the party cannot properly prepare for trial without such production and inspection in advance of

 trial and that the failure to obtain such inspection may tend unreasonably to delay the trial; and

 (4) that the application is made in good faith and is not intended as a general ‘fishing

 expedition.’” 418 U.S. at 699-700.



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        In short, the August 2022 Subpoena must clear three distinct hurdles: (1) relevancy; (2)

 admissibility; and (3) specificity. United States v. Ulbricht, 858 F.3d 71, 109 (2d Cir. 2017)

 (citing Nixon, 418 U.S. at 700), overruled on other grounds by Carpenter v. United States, 138

 S. Ct. 2206 (2018). This stringent Nixon standard applies to both pre-trial and trial subpoenas for

 production of documents. United States v. Percoco, No. 16-CR-776 (VEC), 2018 WL 9539131,

 at *2 (S.D.N.Y. June 14, 2018) (“Although the Nixon case addressed a pre-trial subpoena, the

 same standard has been applied to trial subpoenas for documents.”); United States v. Seabrook,

 No. 16-CR-467 (ALC), 2017 WL 4838311, at *2 (S.D.N.Y. Oct. 23, 2017) (applying Nixon to

 quash subpoena with return date for the beginning of trial).

        The proponent of the subpoena “‘has the burden of specifically identifying the materials

 sought, and showing that they are relevant and admissible.’” United States v. Barnes, No. S9 04

 CR 186(SCR), 2008 WL 9359654, at *3 (S.D.N.Y. Apr. 2, 2008) (quoting United States v.

 Brown, No. 95 CR. 168 (AGS), 1995 WL 387698, at *9 (S.D.N.Y. June 30, 1995)); see also

 Nixon, 418 U.S. at 700. The proponent must also “reasonably specify the information contained

 or believed to be contained in the documents sought” rather than “merely hop[ing] that

 something useful will turn up.” United States v. Sawinski, No. 00 CR. 499 RPP., 2000 WL

 1702032, at *2 (S.D.N.Y. Nov. 14, 2000) (citation and internal quotations omitted). The

 subpoena must “constitute[] a good faith effort to obtain identified evidence rather than a general

 ‘fishing expedition’ that attempts to use the rule as a discovery device.” United States v.

 Cuthbertson, 630 F.2d 139, 144 (3d Cir. 1980). And, as the government further pointed out in its

 recent filing, the proponent of the subpoena must also show that the requested documents “are

 not otherwise procurable by the exercise of due diligence.” RW Prof’l Leasing Servs., 228

 F.R.D. at 164; (see ECF 153 at 2-3).



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        “[C]onclusory statements, devoid of support, claiming that the [issuing party] has met the

 standards set forth in Nixon, are inadequate.” United States v. Ashley, 162 F.R.D. 265, 266

 (E.D.N.Y. 1995); see also United States v. Donziger, Nos. 19-CR-561 (LAP), 11-CV-691

 (LAK), 2021 WL 1865376, at *4 (S.D.N.Y. May 10, 2021) (“To defeat a motion to quash, the

 proponent of the subpoena must make a preponderance showing that the materials requested

 satisfy the standard under Rule 17 . . . .”) (citations and internal quotations omitted). The Court

 may quash a Rule 17(c) subpoena if the issuing party fails to satisfy any one of the Nixon prongs.

 See United States v. Bergstein, No. 16-cr-746 (PKC), 2017 WL 6887596, at *4 (S.D.N.Y. Dec.

 28, 2017).

                                           ARGUMENT

        I.      The August 2022 Subpoena Requests Fail the Nixon Requirements

        The government’s document requests to Ms. Marckstadt in the August 2022 Subpoena

 must be quashed because all twelve requests fail to meet the Nixon requirements.

        First, all of the requests fail the requirement to identify specific materials from Ms.

 Marckstadt, instead seeking broad categories of documents that may be in her possession. See

 United States v. Leonard, 817 F. Supp. 286, 295 (E.D.N.Y. 1992) (quashing Rule 17(c) subpoena

 that sought “virtually every” document relating to defendant); United States v. Hutchinson, No.

 97 CR 1146., 1998 WL 1029228, at *2 (E.D.N.Y. Dec. 23, 1998) (“Courts that have previously

 addressed such blanket requests have routinely rejected them for a lack of specificity.”). The

 government confirmed in its August 29, 2022 email that the purpose of the August 2022

 Subpoena is to seek, for example, “any communications with Mr. Barrack about this case.” (Ex.

 H at 2.) Such broad, amorphous requests are invalid when made in a Rule 17(c) trial subpoena.

 See United States v. Lopez, No. 15-CR-252 (S-3) (PKC), 2022 WL 1137095, at *2 (E.D.N.Y.

 Apr. 16, 2022) (finding subpoena inappropriate where proponents “have not identified a single

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 document or communication that they reasonably believe contains the purportedly relevant or

 material information, nor, indeed, any other evidence suggesting the existence of such

 materials.”). None of the government’s requests identify a particular document or set of

 documents believed to be in Ms. Marckstadt’s possession, custody, or control that the

 government does not already have in its possession.

        Instead, every request asks for broad categories of documents related to various topics.

 The requests are summarized below and are set out in full in the attached Appendix, along with a

 brief explanation of why each request does not meet the Nixon standard.

        Request 1 seeks documents responsive to the grand jury subpoena that the government

 served on Ms. Marckstadt on February 27, 2019. 3 When considered in conjunction with

 Instruction 5, this request seeks all responsive documents that have not yet been produced,

 although the government does not identify what specific documents that may be, nor has it

 articulated any basis to believe such documents exist.

        Requests 2 seeks documents related to “any” Form SF-86 or background check for Mr.

 Barrack, and Request 3 seeks documents related to the inauguration and Presidential Inaugural

 Committee of Donald Trump.

        Request 4 asks for documents “related to ‘special projects’” that Mr. Barrack assigned

 Ms. Marckstadt “relating in any way” to the governments of the UAE, Saudi Arabia, or the

 United States from April 1, 2016 to April 31, 2018. The term “special projects” is not defined.


 3
   The documents requested by the February 27, 2019 subpoena were: “[A]ll documents and
 records in your possession, custody or control . . . relating to: (i) the 2016 United States
 Presidential Campaign; (ii) the 58th Presidential Inaugural Committee; (iii) communications with
 any United States federal agency or federal official; (iv) official and unofficial representatives of
 the United Arab Emirates, the Kingdom of Saudi Arabia or the State of Qatar; and (v)
 businesses, sovereign wealth funds and individuals associated with the United Arab Emirates, the
 Kingdom of Saudi Arabia or the State of Qatar.” (Ex. B.)


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            Request 5 asks for documents related to media appearances by Mr. Barrack “relating in

 any way” to the governments of the UAE, Saudi Arabia, or the United States.

            Request 6 asks for documents related to Mr. Barrack’s relationship with the governments

 of the UAE, Saudi Arabia, or the United States in any Google account in Ms. Marckstadt’s

 possession, custody, or control.

            Request 7 seeks documents “reflecting any communications” between Ms. Marckstadt

 and the defendants from February 27, 2019 to the present relating to to five incredibly broad

 categories: the 2016 presidential campaign; the 58th Presidential Inaugural Committee;

 communications with any United States government official; representatives of the UAE, Saudi

 Arabia, or Qatar; and businesses and sovereign wealth funds from the UAE, Saudi Arabia; or

 Qatar. 4

            Request 8 seeks documents “reflecting any communications” about the use of encrypted

 communications systems to discuss “any of the individuals, entities or topics” described in the

 August 2022 Subpoena.

            Requests 9-12 seek documents reflecting “any” employment or payment of Ms.

 Marckstadt by the defendants, Digital Bridge, or the various law firms involved in the defense of

 this case. The government is well aware that Ms. Marckstadt continues to work for Mr. Barrack

 on matters unrelated to this case, which makes the lack of specifics in these requests even more

 troubling.

            The overly broad language used by the government in its requests reveals that it has no

 idea whether such documents exist. The government confirmed as much in the August 29, 2022



 4
  Other than the date range, this request tracks almost exactly the document request in the
 subpoena served to Ms. Marckstadt on February 27, 2019, which is the subject of Request 1.


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 email, arguing that Ms. Marckstadt “may be in possession of admissible and relevant records in

 this case.” (Ex. H at 2 (emphasis added).) This is plainly insufficient. Rule 17(c) requires that

 the proponent of the subpoena must specifically identify admissible documents; it cannot use the

 subpoena in the hopes of uncovering something relevant. See Cuthbertson, 630 F.2d at 144.

 Here, the government made no effort to identify specific documents for production. By way of

 just one example, Request 8 asks for communications about the use of encrypted communication

 systems, but it does not specify which encrypted communication systems. Emails, text

 messages, and any other electronic messages are encrypted in some way. Thus, any

 communication about sending an email or texting someone is swept into this overbroad request.

        Compounding the overbreadth of these requests is the time period for the document

 requests, which spans over six years from 2016 to the present. This overly broad time frame is at

 odds with Rule 17(c)’s specificity requirement, as the government acknowledged in its recent

 filing, and as the Court recently concluded in its August 29, 2022 hearing regarding Rule 17(c)

 requests made to another non-party. See United States v. Maxwell, No. 20-CR-330 (AJN), 2021

 WL 1625392, at *2 (S.D.N.Y. Apr. 27, 2021) (holding that document requests included in Rule

 17(c) subpoena failed the specificity prong where the “timeframe [was] still overly broad”); (see

 also ECF 153 at 8 (“It is also notable that this request extends to the present, and thus years and

 years beyond the conduct alleged in the Superseding Indictment, further diluting any possibly

 relevancy.”)).

        As the government argued to the Court in its own motion to quash, requests that “smack[]

 of a fishing expedition” are inappropriate under Rule 17(c), particularly “on the eve of trial in a

 case that has been pending for more than a year” and if the request “would likely result in the

 production of voluminous and irrelevant documents requiring significant time to review.” (ECF



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 153 at 6); see also United States v. Mendinueta-Ibarro, 956 F. Supp. 2d 511, 513 (S.D.N.Y.

 2013) (“Subpoenas seeking ‘any and all’ materials, without mention of specific admissible

 evidence, justify the inference that the defense is engaging in the type of ‘fishing expedition’

 prohibited by Nixon.”) (internal quotations omitted); Donziger, 2021 WL 1865376, at *6

 (quashing subpoena requests that are “a paradigmatic example of the type of ‘fishing expedition’

 proscribed by Nixon”).

                 A.      The Government Fails to Show That Requested Documents Are Relevant
                         and Admissible

          In addition to the lack of specificity, the requests are also improper because they seek

 materials that are not relevant to the charges and that are plainly inadmissible at trial. Under

 Rule 17, “[t]he items sought cannot merely be potentially relevant or admissible. Rather, they

 must be shown to [be] relevant and admissible at the time the subpoena is sought.” Barnes, 2008

 WL 9359654, at *3.

          Many of the government’s requests appear targeted not at affirmative evidence, but at

 potential impeachment material, under the theory that Ms. Marckstadt’s employment with

 defense counsel or Mr. Barrack is a source of potential bias. 5 The government was not shy

 about this aspect of the August 2022 Subpoena in its August 29, 2022 email: “documents and

 records related to [Ms. Marckstadt’s] employment by the defendant’s counsel for work on this

 case . . . [are] directly relevant (and admissible) for purposes of assessing her credibility and

 establishing for the jury any bias she may have.” (Ex. H at 2.) This is improper and not true.

 “[D]ocuments are not evidentiary for Rule 17(c) purposes if their use is limited to

 impeachment.” United States v. Cherry, 876 F. Supp. 547, 553 (S.D.N.Y. 1995); see also United



 5
     Ms. Marckstadt has never worked for Mr. Grimes or Mr. Al-Malik or their lawyers.


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 States v. Munteanu, No. CR 12–0698(SJF), 2013 WL 6194343, at *2 (E.D.N.Y. Nov. 26, 2013)

 (“Nor may Rule 17(c) be used prior to trial to uncover evidence for impeachment purposes.”);

 United States v. Binday, 908 F. Supp. 2d 485, 492 (S.D.N.Y. Dec. 10, 2012) (noting that a

 subpoena does not satisfy the Nixon test “if it seeks material that could be used at trial only to

 impeach a witness”); United States v. Nektalov, No. S203CR.828(PKL), 2004 WL 1574721, at

 *2 (S.D.N.Y. July 14, 2004) (“[D]ocuments sought solely for impeachment purposes are not the

 proper subject of a Rule 17(c) subpoena.”).

         Other requests seek categories of documents unrelated to the superseding indictment’s

 allegation that Mr. Barrack and Mr. Grimes were undisclosed agents of the UAE. Requests 4, 5,

 and 7, for example ask for documents related to Saudi Arabia, and Request 7 also asks for

 documents related to Qatar. The government has not explained, nor can it, how these materials

 are relevant to its case-in-chief.

                 B.      The Government’s Requests Are Unreasonably Duplicative of Prior
                         Demands

         The August 2022 Subpoena is even more problematic because the government has

 already received documents from Ms. Marckstadt and Colony related to many of the categories it

 demands on this subpoena. Request 1 explicitly asks for the previously requested documents,

 while Requests 3, 4, 5 ask for, among other items, documents related to Donald Trump’s

 inauguration or Presidential Inaugural Committee, “special projects” related to the UAE, United

 States, or Saudi governments, and Mr. Barrack’s media appearances, all of which are topics

 covered by the previous requests. (See Ex. B, Ex. C (Requests 1, 8).) And Ms. Marckstadt and

 Colony did produce responsive documents to the government at that time. (See Ex. D, Ex. E.)

 The government appears to have made no good faith attempt to determine that which it lacks

 from the voluminous productions it has already received from other Ms. Marckstadt or Colony as


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 is required by Rule 17(c). See RW Prof’l Leasing Servs., 228 F.R.D. at 163 (concluding that it is

 “unreasonable” to ask a subpoena recipient to “find what documents were previously produced

 where [the subpoena issuer] could discover this through their own efforts”). The government

 attempts to cover for this by including Instruction 5, which informs Ms. Marckstadt that she does

 not need to re-produce documents. That is not sufficient. It is the government’s burden, not Ms.

 Marckstadt’s, to sort through the previously produced documents to figure out what, if anything,

 is missing. Id. Moreover, the government has not provided anything that suggests anything is,

 in fact, missing from those previous productions. Thus, these requests should be quashed.

        II.     The Government’s Demand for Post-Indictment Documents from Ms. Marckstadt
                Improperly Targets Privileged Communications and Work Product

        In addition to failing to meet the standards set out in Nixon, a number of the requests raise

 serious concerns about the apparent effort of the government to obtain privileged materials,

 including the materials bearing on the defense team’s strategy in this criminal case. See United

 States v. Harry, No. 86 CR 766, 1987 WL 30695, at *1 (E.D.N.Y. Dec. 23, 1987) (“Trial

 subpoenas by definition must be connected to good faith efforts to obtain admissible evidence.”).

 Nearly all of the requests in the August 2022 Subpoena call for documents up to the present.

 Thus, by design, these requests encompass the year following indictment in this case, including

 the nine months during which Ms. Marckstadt was retained by defense counsel as a consultant.

 The government is well aware that Ms. Marckstadt was a privileged consultant and assisted with

 the preparation of Mr. Barrack’s defense, as they questioned her about this role during her

 interview, and her role was the subject of a Curcio hearing before the Court.

        Yet, in addition to covering the post-indictment timeframe, several requests specifically

 seek documents related to Ms. Marckstadt’s role as a privileged consultant. Requests 9 through

 12 call for agreements between Ms. Marckstadt and any of the defendants and defense counsel


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 and records showing any payments by them or Digital Bridge to Ms. Marckstadt during the post-

 indictment period.

        By their terms, these requests seek documents from a consultant working for the defense

 team, for the time period that she was working with counsel on the defense of the case. This is

 plainly improper on its own, but the broad language of the requests compounds the problem by

 necessarily sweeping in documents and communications involving litigation preparation and

 strategy. Rule 17(c) does not permit the government, on the eve of trial, to seek privileged items

 regarding preparation of the defense case from a person they know to be a privileged consultant

 for the defendant and his counsel. The Court should reject this effort by the government to use

 its subpoena power to invade the defense camp.

        In the August 2022 Subpoena and during its meet and confers with counsel, the

 government has stated that Ms. Marckstadt should log any document or communications that are

 potentially privileged. (See Ex. A at Instruction 6 (“You must individually identify each

 privileged document by describing its subject matter, the date it was created, the author of the

 document by first and last name, all recipients of the document by first and last name, the

 specific privilege from disclosure that You are asserting with respect to each document, and the

 factual basis for Your assertion of the privilege as to each document.”).) But the review and

 logging of privileged documents from someone who worked as a consultant for the defense team

 for nine months will be onerous and time-consuming, particularly for an individual non-party

 witness. The tremendous burden to Ms. Marckstadt will be exacerbated by her role as a

 consultant to Mr. Barrack’s defense team, as she does have numerous privileged

 communications. This burden is beyond inappropriate because these communications have no




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 relevance to the central issues in the government’s case-in-chief and importantly, are also not

 admissible.

        For these reasons, the Court should quash the government’s request for any post-

 indictment documents.

                                          CONCLUSION

        For the reasons described in detail above, the Court should quash the document requests

 in the August 2022 Subpoena.



 Dated: September 1, 2022                         Respectfully submitted,

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  APPENDIX IN SUPPORT OF NON-PARTY ALISON MARCKSTADT’S MOTION TO
                     QUASH RULE 17(C) SUBPOENA

             Non-party Alison Marckstadt (“Ms. Marckstadt”) hereby submits this Appendix showing

 the government’s document requests in the August 2022 Subpoena, along with the objections to

 the requests as follows:



  No.         Request                                            Objections
        1.    Documents responsive to the subpoena served on     This request is overbroad and
              You, through counsel Mathew Herrington, on or      does not identify any specific
              about February 27, 2019.                           documents. Further, the time
                                                                 period for this request (January 1,
                                                                 2016 to the present) is overbroad
                                                                 and impermissible, as it includes
                                                                 documents dated after the period
                                                                 alleged in the indictment.

                                                                 This request seeks irrelevant and
                                                                 inadmissible documents. The
                                                                 conduct alleged in the Indictment
                                                                 concerns the UAE, but this
                                                                 request also asks for documents
                                                                 related to Saudi Arabia and Qatar.
                                                                 The request also calls for
                                                                 communications related to any
                                                                 communications with the United
                                                                 States government, regardless of
                                                                 whether those communications
                                                                 have any relevance to the charges
                                                                 in this case. The request further
                                                                 calls for the production of
                                                                 privileged materials, which will
                                                                 not be admissible at trial.

                                                                 The government has also already
                                                                 requested and received
                                                                 documents responsive to this
                                                                 request.
        2.    Documents related to any Form SF-86 application,   This request is overbroad and
              or background check, related to Thomas J.          does not identify any specific
              Barrack’s appointment as a United States Special   documents. Further, the time
              Envoy or United States Ambassador.                 period for this request (January 1,
                                                                 2016 to the present) is overbroad

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  No.        Request                                              Objections
                                                                  and impermissible, as it includes
                                                                  documents dated after the period
                                                                  alleged in the indictment.

                                                                  The request further calls for the
                                                                  production of privileged
                                                                  materials, which will not be
                                                                  admissible at trial.
        3.   Documents related to the Presidential Inauguration   This request is overbroad and
             of President-elect Donald J. Trump and the           does not identify any specific
             Presidential Inaugural Committee.                    documents. Further, the time
                                                                  period for this request (January 1,
                                                                  2016 to the present) is overbroad
                                                                  and impermissible, as it includes
                                                                  documents dated after the period
                                                                  alleged in the indictment.

                                                                  The request further calls for the
                                                                  production of privileged
                                                                  materials, which will not be
                                                                  admissible at trial.

                                                                  The government has also already
                                                                  requested and received
                                                                  documents responsive to this
                                                                  request.
        4.   Documents related to “special projects” that You     This request is overbroad and
             were assigned to work on by Thomas J. Barrack        does not identify any specific
             relating in any way to the UAE Government, KSA       documents.
             Government, or United States government, between
             April 1, 2016 and April 31, 2018.                This request seeks irrelevant and
                                                              inadmissible documents. The
                                                              conduct alleged in the Indictment
                                                              concerns the UAE, but this
                                                              request also asks for
                                                              documents/communications
                                                              related to Saudi Arabia. The
                                                              request also calls for the
                                                              production of privileged
                                                              materials, which will not be
                                                              admissible at trial.

                                                                  The government has also already
                                                                  requested and received


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  No.        Request                                               Objections
                                                                   documents responsive to this
                                                                   request.
        5.   Documents related to media appearances by             This request is overbroad and
             Thomas Barrack, relating in any way to the UAE        does not identify any specific
             Government, KSA Government, or United States          documents.
             government, between April 1, 2016 and April 31,
             2018.                                                 This request seeks irrelevant and
                                                                   inadmissible documents. The
                                                                   conduct alleged in the Indictment
                                                                   concerns the UAE, but this
                                                                   request also asks for
                                                                   documents/communications
                                                                   related to Saudi Arabia. The
                                                                   request also calls for the
                                                                   production of privileged
                                                                   materials, which will not be
                                                                   admissible at trial.

                                                                   The government has also already
                                                                   requested and received
                                                                   documents responsive to this
                                                                   request.
        6.   Documents related to Thomas J. Barrack’s              This request is overbroad and
             relationship to the UAE Government, KSA               does not identify any specific
             Government, or United States government, which        documents. Further, the time
             are located in any Google account that is in your     period for this request (January 1,
             possession, custody or control.                       2016 to the present) is overbroad
                                                                   and impermissible, as it includes
                                                                   documents dated after the period
                                                                   alleged in the indictment.

                                                                   This request seeks irrelevant and
                                                                   inadmissible documents. The
                                                                   conduct alleged in the Indictment
                                                                   concerns the UAE, but this
                                                                   request also asks for documents
                                                                   related to Saudi Arabia. The
                                                                   request further calls for the
                                                                   production of privileged
                                                                   materials, which will not be
                                                                   admissible at trial.
        7.   Documents reflecting any communications between       This request is overbroad and
             or among You, Barrack, Grimes, and/or Al-Malik        does not identify any specific
             from February 27, 2019 through the present,           documents. Further, the time
             relating to (i) the 2016 United States Presidential   period for this request (February

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  No.        Request                                                 Objections
             Campaign; (ii) the 58th Presidential Inaugural          27, 2019 to the present) is
             Committee; (iii) communications with any United         overbroad and impermissible, as
             States federal agency or federal official; (iv)         it includes documents dated after
             official and unofficial representatives of the United   the period alleged in the
             Arab Emirates, the Kingdom of Saudi Arabia or the       indictment.
             State of Qatar; and (v) businesses, sovereign wealth
             funds and individuals associated with the United        This request seeks irrelevant and
             Arab Emirates, the Kingdom of Saudi Arabia or the       inadmissible documents. The
             State of Qatar.                                         conduct alleged in the Indictment
                                                                     concerns the UAE, but this
                                                                     request also asks for documents
                                                                     related to Saudi Arabia and Qatar.
                                                                     The request also calls for
                                                                     communications related to any
                                                                     communications with the United
                                                                     States government, regardless of
                                                                     whether those communications
                                                                     have any relevance to the charges
                                                                     in this case. The request further
                                                                     calls for the production of
                                                                     privileged materials, which will
                                                                     not be admissible at trial.
        8.   Documents reflecting any communications about           This request is overbroad and
             the use of encrypted communication systems for          does not identify any specific
             the purpose of communicating about any of the           documents. The request also does
             individuals, entities or topics described in this       not specify the encrypted
             Rider.                                                  communication systems at issue.

                                                                     The time period for this request
                                                                     (January 1, 2016 to the present) is
                                                                     overbroad and impermissible, as
                                                                     it includes documents dated after
                                                                     the period alleged in the
                                                                     indictment.

                                                                     This request seeks irrelevant and
                                                                     inadmissible documents. The
                                                                     conduct alleged in the Indictment
                                                                     concerns the UAE, but this
                                                                     request has nothing to do with the
                                                                     UAE or the charged conduct.
                                                                     The request also calls for the
                                                                     production of privileged
                                                                     materials, which will not be
                                                                     admissible at trial.

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  No.        Request                                           Objections
        9.   Documents reflecting any contemplated, proposed   This request is overbroad and
             or actual employment of You by Thomas J.          does not identify any specific
             Barrack, Matthew Grimes, and/or Rashid al-Malik   documents.
             since July 16, 2021.
                                                               This request seeks irrelevant and
                                                               inadmissible documents. The
                                                               conduct alleged in the Indictment
                                                               concerns the UAE, but this
                                                               request has nothing to do with the
                                                               UAE or the charged conduct.
                                                               The request further calls for the
                                                               production of privileged
                                                               materials, which will not be
                                                               admissible at trial. This request
                                                               explicitly seeks documents dated
                                                               after the Defendants were
                                                               indicted, and those documents are
                                                               irrelevant and inadmissible.
        10. Documentation of any employment agreement          The time period for this request
            between You and Paul Hastings, OMM, Willkie,       (January 1, 2016 to the present) is
            W&S, BSF and/or any other law firm (collectively   overbroad and impermissible, as
            the “Law Firms”).                                  it includes documents dated after
                                                               the period alleged in the
                                                               indictment.

                                                               This request seeks irrelevant and
                                                               inadmissible documents. The
                                                               conduct alleged in the Indictment
                                                               concerns the UAE, but this
                                                               request has nothing to do with the
                                                               UAE or the charged conduct.
                                                               The request further calls for the
                                                               production of privileged
                                                               materials, which will not be
                                                               admissible at trial.
        11. Documentation of any agreement with any other      The time period for this request
            individual or entity and Paul Hastings, OMM,       (January 1, 2016 to the present) is
            Willikie [sic], W&S, and/or BSF related to Your    overbroad and impermissible, as
            employment.                                        it includes documents dated after
                                                               the period alleged in the
                                                               indictment.

                                                               This request seeks irrelevant and
                                                               inadmissible documents. The
                                                               conduct alleged in the Indictment

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  No.       Request                                                Objections
                                                                   concerns the UAE, but this
                                                                   request has nothing to do with the
                                                                   UAE or the charged conduct.
                                                                   The request further calls for the
                                                                   production of privileged
                                                                   materials, which will not be
                                                                   admissible at trial.
        12. Bank records indicating the source and amount of       This request seeks irrelevant and
            any payments received by You for any employment        inadmissible documents. The
            of You by Barrack, Digital Bridge, any of the Law      conduct alleged in the Indictment
            Firms or any of their agents or intermediaries since   concerns the UAE, but this
            July 16, 2021.                                         request has nothing to do with the
                                                                   UAE or the charged conduct.
                                                                   This request explicitly seeks
                                                                   documents dated after the
                                                                   Defendants were indicted, and
                                                                   those documents are irrelevant
                                                                   and inadmissible.




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